        Case 4:15-cr-00082-BMM Document 141 Filed 10/31/18 Page 1 of 2



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                          CR 15-82-GF-BMM

                     Plaintiff,                            ORDER

 vs.

 PAIGE LARANN DEMARCE,

                     Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on October 31, 2018. Defendant admitted that she

had violated the conditions of her supervised release: 1) by failing to report to the

United States Probation Office after her release from custody; 2) by leaving

Montana without the permission of her probation officer; and 3) by failing to report

for substance abuse treatment. Judge Johnston found the admissions sufficient to

establish the supervised release violations.

       Judge Johnston recommended that this Court revoke Defendant's supervised

release and commit her to the custody of the United States Bureau of Prisons until

November 1, 2018, with 90 days of supervised release to follow. Judge Johnston

also recommended that Defendant reside at Passages treatment facility while she is

on supervised release.
       Case 4:15-cr-00082-BMM Document 141 Filed 10/31/18 Page 2 of 2




      Defendant waived her right to file objections to Judge Johnston’s

findings and recommendations. Judge Johnston’s findings and

recommendations are therefore reviewed for clear error. McDonnell Douglas

Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir. 1981).

      This Court agrees with Judge Johnston’s findings and recommendations.

Defendant admitted that she had violated the conditions of her supervised release.

Defendant could be incarcerated for up to 36 months, followed by 52 months of

supervised release less any custody time imposed. The United States Sentencing

Guidelines call for a term of imprisonment of 3 to 9 months. A custodial sentence

until November 1, 2018, followed by 90 days of supervised release is appropriate.

The sentence is sufficient but not greater than necessary.

       IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 140) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 31st day of October, 2018.




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